                                                                   ORDER: Motion GRANTED.



                                 UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF TENNESSEE
                                      NASHVILLE DIVISION

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FEMHEALTH USA, INC., d/b/a CARAFEM,

                                    Plaintiff,

v.
                                                                     CAUSE NO. 3:22-cv-00565
RICKEY NELSON WILLIAMS, JR.;                                         JUDGE CAMPBELL
BEVELYN Z. WILLIAMS; EDMEE
CHAVANNES; OPERATION SAVE AMERICA;
JASON STORMS; CHESTER GALLAGHER;
MATTHEW BROCK; COLEMAN BOYD;
FRANK “BO” LINAM; BRENT BUCKLEY; and
AJ HURLEY,
                    Defendants.

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OSA DEFENDANTS’ MOTION FOR LEAVE TO FILE BRIEF ADDRESSING STAY IN
            LIGHT OF CRIMINAL FACE CASE OUT OF TIME

         Defendants Operation Save America, Jason Storms, Matt Brock, Coleman Boyd, Brent

Buckley, and Frank “Bo” Linam (“OSA Defendants”), pursuant to Fed. R. Civ. P. 6(b), submit

this motion for leave to file the attached brief ordered by the Court (ECF 82) addressing the impact

of the pending criminal FACE case on the pending motion to stay the case out of time.

         As grounds, the OSA Defendants state:

1.       The motion to stay initially filed by these Defendants was fully briefed by October 11,

2022. ECF 78.

2.       This Court ordered additional briefing on the impact of the indictment of the eleven

defendants in the case of USA v. Gallagher, et al. by order dated October 18, 2022. ECF 82.




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